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 1
 2                               UNITED STATES DISTRICT COURT
 3                             EASTERN DISTRICT OF CALIFORNIA
 4
 5   ERIKA PETERSON, individually and on                   1:17-cv-00578-LJO-SKO
     behalf of all others similarly situated,
 6                                                         ORDER TRANSFERRING CASE TO
 7                           Plaintiff,                    CENTRAL DISTRICT OF
                                                           CALIFORNIA
 8                     v.
 9   CREDIT CORP. SOLUTIONS, INC.,
10
                             Defendant.
11
12
13          Review of the above-captioned action reveals that it is related under this Court’s Local
14   Rule 123 to the action James Zilbert v. Credit Corp. Solutions, Inc., Case No. 2:17-cv-02617-
15   BRO-SK, filed in the Central District of California and assigned to Judge Beverly Reid
16   O'Connell. The actions involve the same or similar parties, properties, claims, events and/or
17   questions of fact or law. Transfer of this matter to the Central District of California will
18   promote convenience, efficiency, and economy for the Court and parties.
19          On July 14, 2017, the Court notified the parties of its tentative intent to transfer this
20   case to the Central District of California and gave the parties until July 21, 2017 to file any
21   objections to the proposed transfer. No party has objected. Accordingly, on the basis of good
22   cause, the Clerk of Court is DIRECTED to transfer this action to the Central District of
23   California. The undersigned will take no further action in this matter.
24
25   IT IS SO ORDERED.

26      Dated:     July 27, 2017                            /s/ Lawrence J. O’Neill _____
27                                                 UNITED STATES CHIEF DISTRICT JUDGE

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